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                                                       THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9             UNITED STATES OF AMERICA,                      CASE NO. CR15-0120-JCC
10                               Plaintiff,                   FINAL ORDER OF FORFEITURE
11                       v.

12             PHOUNG A. NGUYEN,

13                               Defendant.
14

15             This matter comes before the Court on the United States’ motion for entry of a Final
16   Order of Forfeiture with respect to the following assets:
17       (a)       One (1) Hi-Point Model C9 9mm Handgun with Magazine(s) and Accessories,
                   bearing Serial No. P1431444 ;
18
         (b)       One (1) Smith & Wesson Model 66 .357 Magnum Revolver ;
19
         (c)       Three Firearms :
20
                  1. One (1) Taurus Model 605PlyB2 Protector .357 Magnum Revolver,
21                   bearing Serial No. FS 14228;
22                2. One (l) Beretta Model 950 Jetfire .25 Caliber Pistol, bearing Serial No.
                     BU23l38V; and
23
                  3. One (l) Mossberg Model 500A l2-gauge Shotgun, bearing Serial No.
24                   u085182.
25             The Court, having reviewed the United States’ motion, as well as other pleadings and
26   papers filed in this matter, hereby APPROVES entry of a final order of forfeiture for reasons

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 1   explained herein.

 2          In the plea agreement entered on December 21, 2015, Defendant Nguyen ("Defendant")

 3   forfeited his interest in the above-listed property pursuant to 21 U.S.C. § 924(d)(1). (Dkt. No.

 4   451 at ¶¶ 14 – 25.) On April 5, 2016, this Court entered a Preliminary Order of Forfeiture finding

 5   the above-listed property forfeitable pursuant to 21 U.S.C. § 853 and 18 U.S.C. § 924(d)(1) and

 6   ordering that Defendant’s interest in the property be forfeited. (Dkt. No. 620.) The United States

 7   subsequently complied with applicable notice requirements. (Dkt. Nos. 719, 1049); see 21

 8   U.S.C. § 853(n)(l); Fed. R. Crim. Pro. 2.2(b)(6)(C), 32.2(b)(6)(A). The time for filing third-party
 9   petitions has expired, and none were filed. See 21 U.S.C. § 853(n)(2).
10          The Court therefore ORDERS as follows:
11      1. No right, title, or interest in the above-listed property exists in any party other than the
12          United States;
13      2. The above-listed property is fully and finally condemned and forfeited, in its entirety, to
14          the United States; and,
15      3. The Department of Justice, and/or its representative, is authorized to dispose of the
16          above-listed property as permitted by governing law.
17          DATED this 2nd day of November 2017.




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                                                           John C. Coughenour
21                                                         UNITED STATES DISTRICT JUDGE
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